

People v Stratton (2025 NY Slip Op 02090)





People v Stratton


2025 NY Slip Op 02090


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

VALERIE BRATHWAITE NELSON, J.P.
LINDA CHRISTOPHER
LILLIAN WAN
DONNA-MARIE E. GOLIA, JJ.


2023-02253
 (Ind. No. 70199/22)

[*1]The People of the State of New York, respondent,
vCarrime Stratton, appellant.


Kenyon C. Trachte, Newburgh, NY, for appellant.
David M. Hoovler, District Attorney, Goshen, NY (Winter A. Vega and Andrew R. Kass of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Orange County (Hyun Chin Kim, J.), rendered January 31, 2023, convicting him of criminal contempt in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
Contrary to the defendant's contention, defense counsel did not take a position on the defendant's motion to withdraw his plea of guilty that was adverse to the defendant (see People v Mitchell, 21 NY3d 964). Defense counsel did not express an opinion as to the merits of the defendant's motion, but rather indicated that he took no position on it. Therefore, contrary to the defendant's contention, the appointment of a new attorney to represent him on that motion was not required (see People v Edwards, 223 AD3d 840, 841; People v Pointer, 218 AD3d 499, 500).
Since the defendant has completed the sentence imposed upon his conviction, his contention that the County Court improperly imposed an enhanced sentence is academic (see People v Reyes, 74 NY2d 837, 838; People v Nicholson, 31 AD3d 468, 469), as is his contention that the sentence imposed was excessive (see People v Jackson, 231 AD3d 966; People v Komynar, 210 AD3d 698, 700).
BRATHWAITE NELSON, J.P., CHRISTOPHER, WAN and GOLIA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








